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                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                       OAKLAND DIVISION
12
13
     UNITED STATES OF AMERICA,                  )        No. CR05- 00413 SBA
14                                              )
             Plaintiff,                         )        STIPULATION TO CONTINUE
15                                              )        STATUS HEARING FROM
        v.                                      )        FEBRUARY 7, 2006 TO FEBRUARY
16                                              )        28, 2006 AND ORDER EXCLUDING
     FILIBERTO GONZALEZ and                     )        TIME
17   MARTINIANO ARCIGALEON                      )
                                                )
18           Defendants.                        )
                                                )
19
20
21           The parties are scheduled to appear before The Honorable Saundra Brown
22   Armstrong, United States District Judge, on February 7, 2006 at 9:00 a.m. for a status
23   hearing. The parties jointly and respectfully request that the status hearing be continued
24   to February 28, 2006 at which time the parties will submit Rule 11(c)(1)(C) plea
25   agreements for the Court’s consideration or will ask the Court to set a trial date.
26           The indictment is the product of two separate Drug Enforcement Administration
27   (DEA) investigations. The indictment alleges 6 different narcotics transactions. While
28
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1    the primary phase of discovery has been completed, the focus of the follow-up discovery
2    requests centers around the surveillance of the defendants and the quality of the
3    recordings of the transactions. Since the last time the parties were before the Court on
4    January 10, 2006, the government reproduced an audio recording of one of the drug
5    transactions without distorting background noise. The defense is in the process of
6    reviewing and translating the recording. In addition, the U.S. Attorney’s received last
7    week DEA lab reports on fingerprint analysis conducted on certain items seized during
8    the investigation. The defendants have just received the reports and require time to
9    review them and determine whether to conduct independent follow-up analysis.
10          On a parallel track, the parties have continued to meet in an effort to discuss a
11   possible resolution of the case short of trial. The meetings have been productive and will
12   conclude in the next two weeks. The parties anticipate submitting Rule 11(c)(1)(C) plea
13   agreements to the Court for its consideration at the next status hearing. Otherwise, the
14   parties will ask the Court to set a trial date.
15          In addition, counsel for the government begins a jury trial in front of The
16   Honorable Claudia Wilken, United States District Judge, on February 13, 2006 in the
17   matter of the United States v. Mirza Ali, et al., CR02-40081 CW. The trial is anticipated
18   to last 6 weeks.
19          Accordingly, the parties respectfully request a continuance of the status hearing
20   from February 7, 2006 to February 28, 2006 at 9:00 a.m. The parties stipulate and agree
21   that failure to exclude the time period between February 7, 2006 and February 28, 2006
22   from computation under the Speedy Trial Act would unreasonably deny the government
23   continuity of counsel and would deny counsel for the defendants the reasonable time
24   necessary for effective preparation, taking into account the exercise of due diligence. 18
25   U.S.C. Section 3161(h)(8)(A) and (B)(iv). The parties further stipulate that the ends of
26   justice served by the continuance outweigh the best interest of the public and the
27   //
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1    defendant in a speedy trial.
2
3    DATED: February 2, 2006                   Respectfully submitted,
4                                              KEVIN V. RYAN
                                               United States Attorney
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6
                                               ________________________________
7                                              BRIAN J. STRETCH
                                               Assistant United States Attorney
8
9
10   DATED: _________________                  _______________________________
                                               SCOTT SUGARMAN
11                                             Counsel for Filiberto Gonzalez
12
     DATED: _________________                  _______________________________
13                                             JEROME MATTHEWS
                                               Counsel for Martiano Arcigaleon
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1                                       ORDER
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3           Based upon the stipulation of the parties, and for good cause shown, IT IS
4    HEREBY ORDERED that the status hearing scheduled for February 7, 2006 shall be
5    continued to February 28, 2006 at 11:00 a.m. IT IS FURTHER ORDERED that the time
6    period from February 7, 2006 to February 28, 2006 shall be excluded from computation
7    under the Speedy Trial Act because failure to do so would unreasonably deny the
8    government continuity of counsel and would deny counsel for the defendants the
9    reasonable time necessary for effective preparation, taking into account the exercise of
10   due diligence. 18 U.S.C. Section 3161(h)(8)(A) and (B)(iv). The Court finds that the
11   ends of justice served by the continuance outweigh the best interest of the public and the
12   defendant in a speedy trial. Id.
13
14   DATED: 2/6/06                                       _______________________________
                                                         SAUNDRA BROWN ARMSTRONG
15                                                       United States District Court Judge
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     Stipulation to Continue Status Hearing
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